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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
                                         (Newark)

ESMERLIN PIMENTEL,

                     Plaintiff,

             v.
                                                        Civil Action No.: 20-14744-CCC-ESK
PARK PLACE OF NEW JERSEY, LLC d/b/a
DIP’S LUXURY MOTORS; SALVADOR DIP
and CAPITAL ONE AUTO FINANCE, INC. a
division of CAPITAL ONE, N.A.,

                     Defendants.


                      JOINT PROPOSED DISCOVERY PLAN

1.     Set forth the name of each attorney appearing, the firm name, address and telephone
       number and facsimile number of each, designating the party represented.

 For Plaintiff                                    For Defendants
 The Law Offices of Robert J. Nahoum, P.C.        Aboyoun Dobbs LLC
 Robert J. Nahoum, Esq.                           Timothy J. Broking, Esq.
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                                                  Aboyoun Dobbs LLC
                                                  Christopher Hartmann, Esq.
                                                  77 Bloomfield Avenue (Route 46 West)
                                                  Pine Brook, New Jersey 07058
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2.     Set forth a brief description of the case, including the causes of action and defenses
       asserted.

In this proceeding relating to a vehicle sale and finance, Plaintiff seeks, among other
things, statutory and actual money damages against Defendants for, inter alia, violations
of the federal Truth In Lending Act, 15 U.S.C. §§ 1601 et seq. (“TILA”), the New Jersey
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Consumer Fraud Act (the “CFA”), N.J.S.A. 56:8-1 et seq., and common law claims for
fraud, breach of contract, and breach of warranty.

3.     Have settlement discussions taken place? Yes                 No XXX

       (a)   What was plaintiff’s last demand? None

              (1)   Monetary demand: None
              (2)   Non-monetary demand: None

       (b)   What was defendant’s last offer?

              (1)    Monetary offer: None
              (2)    Non-monetary offer: None

4.     The parties have met pursuant to Fed. R. Civ. P.26(f):

5.     The parties have not exchanged the information required byFed. R. Civ. P.
       26(a)(1). The parties intend to exchange information required byFed. R. Civ. P.
       26(a)(1) within 14 days of the Initial Case Conference.

6.     Explain any problems in connection with completing the disclosures required by Fed
       R. Civ. P. 26(a)(1). None

7.     The parties have not conducted discovery other than the above disclosures. If so,
       describe.

8.     Proposed joint discovery plan:

       (a)    Discovery is needed on the following subjects:

              Plaintiff: Facts, circumstances, documents and other information related to the
              sale of the subject vehicle to Plaintiff, financing of said sale and assignment of
              financing documents to defendant Capital One Auto Finance, Inc. a division of
              Capital One, N.A.


       (b)    Discovery should not be conducted in phases or be limited to particular issues.
              Explain.

       (c)    Responses to Interrogatories to be served by July 15, 2021.

       (d)    Proposed schedule:

              (1) Fed. R. Civ. P. 26 Disclosures March 17, 2021.

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             (2) E-Discovery conference pursuant to L. Civ. R. 26.1(d) May 28, 2021.

             (3) Service of initial written discovery May 14, 2021.

             (4) Maximum off 25 Interrogatories by each party to each other party.

             (5) Maximum off 5 depositions to be taken by each party.

             (6) Motions to amend or to add parties to be filed by May 3, 2021.

             (7) Factual discovery to be completed by October 28, 2021.

             (8) Plaintiff’s expert report due on October 22, 2021.

             (9) Defendant’s expert report due on November 22, 2021.

             (10) Expert depositions to be completed by December 22, 2021.

             (11) Dispositive motions to be served within 60 days of completion of
              discovery.

      (e)    Set forth any special discovery mechanism or procedure requested. None
      (f)    A pretrial conference may take place on                         .

      (g)    Trial date:                             (XXX Jury Trial;           Non-Jury Trial).

9.    Do you anticipate any special discovery needs (i.e., videotape/telephone depositions,
      problems with out-of-state witnesses or documents, etc)? Yes XXX No                .
      If so, please explain. The parties anticipate that all depositions may be conducted
      virtually due to Covid_19 restrictions.

10.   Do you anticipate any issues about disclosure or discovery of electronically stored
      information, including the form or forms in which it should be produced?
      No.

      If so, how will electronic discovery or data be disclosed or produced? Describe any
      agreements reached by the parties regarding same, including costs of discovery,
      production, related software, licensing agreements, etc.

11.   Do you anticipate entry of a Discovery Confidentiality Order? See L.Civ.R. 5.3(b)
      and Appendix S. No.

12.   Do you anticipate any discovery problem(s) not listed above? Describe.
      No.

13.   State whether this case is appropriate for voluntary arbitration (pursuant to Local Civil
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       Rule 201.1 or otherwise) or mediation (pursuant to Local Civil Rule 301.1 or otherwise).
       If not, explain why and state whether any such procedure may be appropriate at a later
       time (i.e., after exchange of pretrial disclosures, after completion of depositions, after
       disposition or dispositive motions, etc.). The Parties anticipate that mediation may be
       beneficial at the close of discovery.

 14.   Is this case appropriate for bifurcation? No.

 15.   An interim status/settlement conference (with clients in attendance), should be held in
                                                        .

 16.   We do not consent to the trial being conducted by a Magistrate Judge.

 17.   Identify any other issues to address at the Rule 16 Scheduling Conference.


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